Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 1 of 10 PageID# 34




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 UNITED STATES OF AMERICA


         V.                                                No. I:23-CR-27(RDA)

 KYLE RAMSTETTER,

        Defendant.



                                   STATEMENT OF FACTS


       The United States and the defendant, KYLE RAMSTETTER ("RAMSTETTER"),

stipulate that the allegations in the one-count Criminal Information and the following facts are true

and correct. The United States and the defendant further stipulate that had the matter gone to trial,

the United States would have proven the allegations in the Criminal Information and the following

facts beyond a reasonable doubt.

I.     Introduction


       1.      As set forth in greater detail below,from at least in or around December 2017 and

continuing through in or around September 2019,in the Eastern District of Virginia and elsewhere,

defendant RAMSTETTER, B.W., C.N., C.H.K., C.V.K., R.A., and others known and unknown,

did knowingly conspire and agree with each other to commit honest services wire fraud, that is:

having devised and intending to devise a scheme and artifice to defraud the Victim Company of

its right to the honest services of its employees through bribery or kickbacks,to transmit and cause

to be transmitted by means of wire communication in interstate commerce writings, signs, signals,

pictures, and sounds for the purpose of executing such scheme and artifice, in violation of Title

18, United States Code, Sections 1343 and 1346.
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 2 of 10 PageID# 35




       2.     More specifically, it was the purpose of the conspiracy to engage in a kickback

scheme through which B.W.and Company 1 made kickback payments to employees ofthe Victim

Company,C.N. and C.H.K., which payments RAMSTETTER helped to facilitate, in exchange for

those employees steering real estate development deals in the Eastern District of Virginia and

elsewhere from the Victim Company to Company 1.

11.    Factual Background

       A.     Relevant Individuals, Entities, and Transactions

       3.     Company 1 was a Denver, Colorado-based commercial real estate and development

company. B.W. was Company I's Chief Executive Officer("CEO").

       4.     Since in or around 2018,the Victim Company executed leases with Company 1 for

nine real estate developments in Northern Virginia, within the Eastern District of Virginia. The

total approved to be spent for these deals was approximately $415.5 million.

       5.     In or around November 2017, RAMSTETTER began working at Company 1 as a

project manager, and was soon promoted to Director of Development.                In that role,

RAMSTETTER was responsible for managing the Northern Virginia real estate development deals

involving the Victim Company and Company 1, on behalf of B.W. RAMSTETTER worked with

W.C., who was a financial analyst at Company 1, on many ofthese real estate development deals.

       6.     At all times relevant to the conspiracy, C.H.K. was an employee of the Victim

Company overseeing real estate development in Northern Virginia, including the nine real estate

development deals involving Company 1. Until approximately mid-June 2019, C.N. was a Senior

Manager of Real Estate at the Victim Company and was C.H.K.'s supervisor. C.N. was also

involved in real estate transactions on behalf ofthe Victim Company in Northern Virginia.
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 3 of 10 PageID# 36




       7.      J.C.L. was a civil engineer and real estate consultant on real estate deals involving

the Victim Company,including deals in Northern Virginia.

       B.      RAMSTETTER's Knowledge and Facilitation of Kickback Payments from
               Company 1 to Employees ofthe Victim Company

       8.       Within approximately one month of starting work at Company 1, RAMSTETTER

began receiving emails from B.W. relating to C.V.K., who was a long-time friend of B.W.

RAMSTETTER came to understand that C.V.K. was the brother of C.H.K., who was the Victim

Company employee who oversaw the real estate development deals in Northern Virginia involving

Company 1 and the Victim Company.

       9.       RAMSTETTER also saw an Independent Contractor Agreement between

Company 1 and an entity called the Villanova Trust, which was ostensibly controlled by C.V.K.

RAMSTETTER learned that Company 1 was making payments to the Villanova Trust in the form

of purported "referral fees" in connection with the real estate development deals involving the

Victim Company. RAMSTETTER recognized that these fees, however, were much higher than

other referral fees that he had seen paid out by other commercial real estate companies, including

other companies for which RAMSTETTER had previously worked. RAMSTETTER was also

aware that C.V.K. never added any actual value on Company I's development deals with the

Victim Company.

       10.     Instead, RAMSTETTER came to understand that the purported referral fees from

Company I to the Villanova Trust were actually disguised kickback payments that were intended

for the benefit of employees of the Victim Company, namely, C.H.K. and C.N., in exchange for

those employees' roles in facilitating and steering real estate development deals in Northern

Virginia to Company 1.
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 4 of 10 PageID# 37




         11.    The kickback payments from B.W. and Company 1 to C.H.K. and C.N. were

hidden by the use of various trusts and other shell entities that had been created by R.A., a

Colorado-based attorney, for the purpose of concealing the kickback scheme. D.V.L., an

acquaintance of R.A., was installed as the purported manager of some of these shell companies.

In reality, however, C.N. and other members of the conspiracy described D.V.L. to

RAMSTETTER as a "straw guy."

         12.    While RAMSTETTER was employed at Company 1, B.W. also paid for

RAMSTETTER, C.H.K., and C.N. to take trips together, including fishing trip to Florida and a

10-day hunting trip to New Zealand. C.H.K. and C.N. told RAMSTETTER that they were not

disclosing these trips to the Victim Company.

         13.    The Victim Company's employees, such as C.H.K. and C.N., were not authorized

to receive referral fees or other compensation associated with the Victim Company's real estate

deals.


         C.    Land Flip Transaction Involving White Peaks Capital, LLC and the Victim
               Company in July 2019

         14.   In addition to working as the Director of Development at Company 1,

RAMSTETTER was also the majority partner of White Peaks Capital, LLC ("White Peaks"), a

limited liability corporation that also conducted business with the Victim Company. W.C.,

Company 1's financial analyst, was the minority partner in White Peaks.

         15.   On or about April 22, 2019, RAMSTETTER and W.C., doing business as White

Peaks, and while both were still employed at Company 1, put an approximately 89-acre parcel of

land under contract in Northern Virginia, within the Eastern District of Virginia,for approximately

$98,670,000. This property would later be "flipped" to the Victim Company at a substantial profit

for White Peaks, and a commensurate increased cost for the Victim Company.
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 5 of 10 PageID# 38




       16.     RAMSTETTER subsequently engaged in negotiations with C.H.K. and C.N.to sell

the land to the Victim Company. Throughout those conversations, C.N. and C.H.K., who was then

still employed by the Victim Company, expressed a desire and expectation that RAMSTETTER

and White Peaks would kick back a significant portion ofthe profits from the land flip transaction

involving the Victim Company to C.N. and C.H.K. through one of the shell companies that R.A.

had established and that C.N. and C.H.K. ultimately controlled. C.N provided RAMSTETTER

with a "Facilitator Agreement" that called for 66% of White Peaks' profits on the land flip

transaction to be kicked back to C.N. and C.H.K.through one oftheir shell entities. C.N. also told

RAMSTETTER that C.H.K. and the Victim Company would steer more real estate deals to White

Peaks in the future if RAMSTETTER made that requested payment, and that C.H.K. could "blow

up" or "derail" (i.e., teirninate) the deal regarding the sale of the 89-acre parcel of land to the

Victim Company if RAMSTETTER did not make the kickback payment.

       17.     On or about July 29, 2019, White Peaks officially acquired the Northern Virginia

property for $98,670,000 and simultaneously sold it on that same date to the Victim Company for

$116,389,000, resulting in a gross profit of $17,719,000 to White Peaks. RAMSTETTER and

W.C. agreed to split the profits from this land flip transaction 51%/49%,respectively.

       18.     RAMSTETTER, W.C., and White Peaks did not make any kickback payments to

C.H.K. or C.N. prior to the July 29,2019 closing. However, in response to repeated requests from

C.N, C.H.K., and others, RAMSTETTER,with W.C.'s knowledge and understanding, ultimately

agreed to make a $1,000,000 payment to C.H.K. and C.N. in relation to the White Peaks' land flip

transaction involving the Victim Company.

       19.     On or about August 8,2019,RAMSTETTER wire transferred $1,000,000 to a bank

account controlled by J.C.L., who then immediatedly wired the $1 million to a shell entity
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 6 of 10 PageID# 39




established by R.A. and maintained for the benefit of C.H.K. and C.N. To disguise the purpose of

the payment,J.C.L. provided RAMSTETTER with a false and fraudulent invoice for services. The

$1 million payment, however, was not in fact owed by White Peaks to J.C.L. or to his company,

but instead, was intended to be transferred to C.H.K. and C.N., or to entities established for their

benefit or under their control. At the time ofthis $1 million payment,C.H.K. was still an employee

ofthe Victim Company.

       20.     In or around September 2019, B.W. learned about the White Peaks land flip

transaction involving the Victim Company, which RAMSTETTER and W.C. had not previously

disclosed to B.W. or others at Company 1. B.W.confronted RAMSTETTER and W.C. about the

transaction and then terminated RAMSTETTER and W.C.from their employment at Company 1

shortly thereafter. B.W. also demanded a portion of the profits that White Peaks received on the

land flip transaction, and RAMSTETTER, W.C., and B.W. signed a non-disclosure agreement in

which they agreed to settle the matter. On or about October 24, 2019, RAMSTETTER and W.C.

wire transferred $5,000,000 ofthe proceeds from the White Peaks land flip transaction to B.W. in

connection with that non-disclosure agreement.

       21.     After the $5 million payment to B.W., RAMSTETTER personally retained

approximately $4.9 million in proceeds from the White Peaks land flip transaction involving the

Victim Company. On or about May 18, 2020, RAMSTETTER voluntarily turned over to the

government the contents of the following two acounts, totaling approximately $1,483,891.95,

which represented the proceeds from the White Peaks transaction that remained in

RAMSTETTER's possession and control at that time:(1) UMB Bank account # 9872390059 in

the name of WHITE PEAKS CAPITAL LLC MMDA ACCOUNT;and (2)UMB Bank account #

9872390172 in the name of WHITE PEAKS CAPITAL LLC OPERATING ACCOUNT.
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 7 of 10 PageID# 40




III.   Criminal Conduct


       22.    After learning of the kickback scheme involving payments from B.W. and

Company 1 to employees of the Victim Company, RAMSTETTER knowingly conspired and

agreed with B.W., C.N., C.H.K., C.V.K., R.A., and others to facilitate that kickback scheme,

including through interstate phone and other electronic communications in which RAMSTETTER

alerted C.N. and C.H.K. to forthcoming kickback payments that they would receive in exchange

for their roles in steering real estate development deals in Northern Virginia from the Victim

Company to Company 1. RAMSTETTER knew and understood that this kickback arrangement

was unlawful and that it violated the fiduciary duties and loyalties that C.N. and C.H.K. owed to

the Victim Company.

       23.    For example, on or about July 27, 2018, RAMSTETTER messaged C.N. on

WhatsApp, an end-to-end encrypted messaging service, stating: "Hoping to get wires out to you

today (before cut off), at worst you'll have $1,297,011.18 first thing tomorrow." C.N. replied to

that message: "Beauty thanks man."

       24.    On or about November 5,2018, RAMSTETTER messaged C.H.K.: "We officially

own Manassas. I'll get your money wired out tomorrow." C.H.K. replied to that message: "Damn

boy be good!!" These exchanges also occurred via WhatsApp, which C.H.K. had specifically

instructed RAMSTETTER to use because messages sent using WhatsApp were encrypted and

could not be detected.


       25.    During another WhatsApp exchange on or about December 7, 2018,

RAMSTETTER messaged C.H.K.: "$1,061,160 will be wired today." C.H.K. replied to that

message: "Have I told you lately?...That I Love You. ®."
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 8 of 10 PageID# 41




       26.    In total, during RAMSTETTER's involvement in the conspiracy, Company 1 and

B.W. paid approximately $5,113,133.84 in purported "referral fees" to the Villanova Trust. All of

these kickback payments were associated with real estate developments deals in Northern Virginia

that C.N. and C.H.K. steered from the Victim Company to B.W.and Company 1. RAMSTETTER

understood that Company 1 would not have secured these development deals with the Victim

Company without the kickback payments made to C.N. and C.H.K.

       27.    During RAMSTETTER's participation in the kickback conspiracy, he received

approximately $300,000 in additional compensation associated with the development fees paid on

Company I's real estate development deals involving the Victim Company, over and above his

standard Company 1 base salary. This approximately $300,000 paid to RAMSTETTER equated

to 2% ofthe development fees on the real estate projects involving the Victim Company.

       28.    In addition, RAMSTETTER received $150,000 from one of the shell entities that

was established for C.N. and C.H.K.'s benefit, via two direct wire transfers of $100,000 and

$50,000 sent on October 9, 2018, and December 12, 2018, respectively. These wire payments

totaling $150,000 were made in exchange for RAMSTETTER providing inside information to

C.N. and C.H.K. about Company 1's development deals with the Victim Company and keeping

C.N. and C.H.K. updated on the status of the disguised kickback payments from Company 1 and

B.W.to C.N. and C.H.K., via the supposed "referral fees" paid to the Villanova Trust.

       29.    RAMSTETTER, C.N., and C.H.K. communicated about those $100,000 and

$50,000 wire payments via interstate electronic communications,including WhatsApp exchanges.

For example, on or about December 11, 2018, RAMSTETTER and C.N. had the following

WhatsApp exchange, while both RAMSTETTER and C.N. were located in the Eastern District of

Virginia:
 Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 9 of 10 PageID# 42




       RAMSTETTER:"Also I forgot to confirm, did the wire come through last week?"

       C.N.:"Yep lean and mean - you can expect[$50,000]"

       C.N.:"Little Xmas bonus"


       RAMSTETTER:"You kidding me!?! Thank you a thousand times over."

       30.     The following day, on or about December 12, 2018, C.N. sent the following

message to RAMSTETTER on WhatsApp, while RAMSTETTER was still in Northern Virginia:

"Hey - check your acct - money should be there / also sign the W9."

IV.    Conclusion


       31.     RAMSTETTER's actions in furtherance of the charged offense, including but not

limited to the acts described above, were done willfully and knowingly, and not because of

accident, mistake, or other innocent reason.

       32.     The foregoing Statement of Facts is a summary ofthe principal facts that constitute

the legal elements of conspiracy to commit honest services wire fraud. This summary does not

describe all of the evidence that the United States would present at trial or all of the relevant

conduct that would be used to determine RAMSTETTER's sentence under the Sentencing

Guidelines after a trial.


                                                     Respectfully submitted,


                                                     Raj Parekh
                                                     Acting United States Attorney




                                               By:
                                                     Russell L. CaTlber^
                                                     Heidi B. Gesch
                                                     Assistant United States Attorneys
Case 1:23-cr-00027-RDA Document 11 Filed 03/08/23 Page 10 of 10 PageID# 43




       Defendant's Stipulation and Signature: After consulting with my attorneys and reviewing

the above Statement of Facts, I stipulate that the above Statement of Facts is true and accurate. I

further stipulate that had the matter proceeded to trial, the United States would have proven the

same,as well as the allegations in the one-count criminal Information, beyond a reasonable doubt.




                                                        de RaiDstetter
                                                     Defendant




        Defense Counsel Signatures: I am the defendant, Kyle Ramstetter's, attomey. I have

carefully reviewed the above Statement of Facts with him. To my knowledge, his decision to

stipulate to these facts is an informed and voluntary one.




                                                             iubbard
                                                              for the Defendant




                                                10
